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                  IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF TEXAS
                          FORT WORTH DIVISION

UNITED STATES OF AMERICA                  §
                                          §
V.                                        §                    NO. 4:20-CR-00269-Y
                                          §
ERIC PRESCOTT KAY                         §

     DEFENDANT’S MOTION TO EXTEND SENTENCING DEADLINES

TO THE HONORABLE TERRY R. MEANS,
DISTRICT JUDGE, NORTHERN DISTRICT OF TEXAS:

      COMES NOW, Eric Prescott Kay (Defendant), by and through his attorney of

record, Cody L. Cofer (Counsel), and moves the Court to extend the deadlines for

sentencing motions and materials. Counsel requests the Court extend deadlines

by 20 days. As grounds for this request and in support thereof, Defendant would

show the Court:

      1. The PSR was filed on April 20, 2022. (ECF 149). Objections to the

         presentence report (PSR) are due on August 18, 2022. (ECF 161).

         Sentencing materials and any memorandum are due on September 1, 2022.

         (ECF 161). Sentencing is scheduled for October 11, 2022. (ECF 161).

      2. Counsel has filed transcript order forms for all transcripts in this case.

         Counsel has received transcripts for all proceedings except for the jury trial.

         Without the trial transcript Counsel is unable to effectively prepare for and

         litigate sentencing issues.




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      3. Counsel conferred the attorney for the Government. The Government is

         unopposed to the requested extension. Presently, both parties would prefer

         the Court not continue the final sentencing hearing.

      4. Counsel moves the Court to extend deadlines for PSR objections to

         September 7, 2022, and sentencing materials to September 21, 2022.

         Counsel expects this would allow the Court to proceed with sentencing as

         scheduled on October 11, 2022.

      WHEREFORE PREMISES CONSIDERED, Defendant prays that in the

above referenced and entitled cause, the Court extend sentencing deadlines.

                                            Respectfully submitted,

                                            /s/ Cody L. Cofer
                                            Cody L. Cofer
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                                            Attorney for Defendant




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                         CERTIFICATE OF CONFERENCE

I hereby certify that on August 18, 2022, I conferred with the attorney for the
Government. The Government does not object to this motion.

                                              /s/Cody L. Cofer

                            CERTIFICATE OF SERVICE

I hereby certify that on August 18, 2022, I electronically filed the foregoing document
with the clerk for the U.S. District Court, Northern District of Texas, using the
electronic case filing system of the court. The electronic case filing system sent a
“Notice of Electronic Filing” to the attorney for the Government.

                                              /s/Cody L. Cofer
                                              Cody L. Cofer
                                              Attorney for Defendant




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